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P R O B 35                 ORDER TERMINATING PROBATION
                             PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                          )
                                                  )
                            vs.                   )        Docket Number: 1:05CR00435-06 OWW
                                                  )
Willard Don Bollinger                             )
                                                  )


On June 16, 2006, the above-named was placed on Probation for a period of 3 years. He
has complied with the rules and regulations of supervision. In addition, he has met all
reporting requirements and financial obligations. It is accordingly recommended that he be
discharged from supervision.

                                    Respectfully submitted,

                                      /s/ Jose T. Pulido

                                      Jose T. Pulido
                              United States Probation Officer

Dated:         June 20, 2008
               Fresno, California
               jtp

REVIEWED BY:           /s/ Bruce A. Vasquez
                     BRUCE A. VASQUEZ
                     Supervising United States Probation Officer




                                                                                                           R ev. 05/2006
                                                                E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
           Case 1:05-cr-00435-AWI Document 243 Filed 07/11/08 Page 2 of 2


Re:   Willard Don Bollinger
      Docket Number: 1:05CR00435-06
      ORDER TERMINATING PROBATION
      PRIOR TO EXPIRATION DATE




                                   ORDER OF COURT

It is ordered that the probationer be discharged from probation, and that the proceedings in
the case be terminated.



IT IS SO ORDERED.

Dated: July 10, 2008                         /s/ Oliver W. Wanger
emm0d6                                  UNITED STATES DISTRICT JUDGE




                                                                                                        R ev. 05/2006
                                                             E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
